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                     UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

THE BOILING POINT, INC. d/b/a
PEPPERCORNS KITCHEN,
                       Plaintiff,
                                                                Case No. 18-cv-3632
       v.

NAN LUO aka “JUDY LUO” and FANYUAN                              Jury Trial Demanded
INVESTMENT MANAGEMENT, LLC. d/b/a
PEPPERCORNS KITCHEN,

                       Defendants.

               LR 3.2 NOTIFICATION and 7.1 DISCLOSURE STATEMENT

       In accordance with Local Rule 3.2 and FRCP 7.1, Plaintiff The Boiling Point, Inc.

(“Plaintiff”) makes the following R. 7.1 disclosures:

       1.      Plaintiff does not have any parent corporations.

       2.      Plaintiff is not a publicly-held corporation or an otherwise publicly-held entity.

       3.      It is not the case that 5% or more of any of the Plaintiff’s stock is owned by a publicly-

held corporation or an otherwise publicly-held entity.

Dated: May 23, 2018
                                                                        Respectfully Submitted,

                                                                        /s/ Daliah Saper
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